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ROBEHT'F;.F*U "l“F-ZC)LIO
uNlTED sTATEs oF AMER|CA, §§R§i= L~i‘r`-.`i,` §§ng
Plaintiff,
\/s.

CR. NO. 05-20153-B
CHARLES MONGER,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTENG

 

This cause came on for a report date on i\/lay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Nlonday, Ju|y 25l 2005, at 9:30 a.m., in Courtroom 1l 11th Floor of the
Federal Building, lVlemphis, TN.

 

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) becausethe ends ofjustice served in allowing for additional time

to prepare outweigh the need for a

  

|T |S SO ORDERED this da - ne, 2005.

 

J lEL BREEN \
NiT o sTATEs olsTRlcT JuDGE

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UNITED sTATE D"ISIC COURT - WESTER D'S'TRCT oFTENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20153 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

